Case 1:14-ml-02570-RLY-TAB Document 22394 Filed 07/20/22 Page 1 of 4 PageID #:
                                 132498



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 IN RE COOK MEDICAL, INC. IVC FILTERS
 MARKETING, SALES PRACTICES, AND          Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION            MDL No. 2570
 ________________________________________


This Document Relates to the Following Actions:

1:19-cv-01409; 1:19-cv-01413; 1:19-cv-01416; 1:19-cv-03181; 1:19-cv-03383;
1:19-cv-03531; 1:19-cv-03660; 1:19-cv-04017; 1:19-cv-04074; 1:19-cv-04093;
1:19-cv-04617; 1:19-cv-04965; 1:20-cv-00107; 1:20-cv-00502; 1:20-cv-00534;
1:20-cv-01002; 1:20-cv-02554; 1:20-cv-02558; 1:20-cv-02897; 1:20-cv-02898;
1:20-cv-03090; 1:20-cv-03279; 1:20-cv-06123; 1:21-cv-00029; 1:21-cv-00040;
1:21-cv-00041; 1:21-cv-00197; 1:21-cv-00343; 1:21-cv-00460; 1:21-cv-00466;
1:21-cv-00500; 1:21-cv-00705; 1:21-cv-00895; 1:21-cv-01344; 1:21-cv-01352;
1:21-cv-01443; 1:21-cv-01481; 1:21-cv-01619; 1:21-cv-01620; 1:21-cv-01685;
1:21-cv-01764; 1:21-cv-01933; 1:21-cv-02337; 1:21-cv-02348; 1:21-cv-06564


         ORDER ON THE COOK DEFENDANTS' MOTION TO DISMISS
                          (Filing No. 20469)

       Pursuant to Federal Rule of Civil Procedure 41(b) and Third Amended Case

Management Order No. 4, Cook Incorporated, Cook Medical LLC, f/k/a Cook Medical

Incorporated, and William Cook Europe ApS ("Cook") request that the court dismiss the

45 actions listed above because a completed Plaintiff Profile Form ("PPF") has not been

submitted. Of those, only Roberta Simmons (1:19-cv-01409), Paulette Parks (1:19-cv-

01413), and Irish Daniels (1:19-cv-01416) filed a response stating that they filed their

Amended PPFs soon after receiving Cook's deficiency letters. Moreover, the cases

brought by Eleanor Carter Bawner (1:20-cv-03279), Arthur Cornell Aguilar (1:21-cv-

00040), Victor Bevis (1:21-cv-00466), Dina Daniels (1:21-cv-01344), Veronica Dixon
                                             1
Case 1:14-ml-02570-RLY-TAB Document 22394 Filed 07/20/22 Page 2 of 4 PageID #:
                                 132499



(1:21-cv-01352), Kimberly Dill (1:21-cv-01619), Christine and Kevin Curti (1:21-cv-

01620), and Carrie Jean Drakeford (1:21-cv-01685), were dismissed by prior order.

      Accordingly, Cook’s Motion (Filing No. 20469) is GRANTED in part, DENIED

in part, and DENIED as moot in part. It is GRANTED with respect to:

      Tammy Layson                      1:19-cv-03181

      Sarah Feagins                     1:19-cv-03383

      Hortentia Harris                  1:19-cv-03531

      Oscar Anguiano                    1:19-cv-03660

      Stephanie Simko                   1:19-cv-04017

      Cheryl Booth                      1:19-cv-04074

      Ronald Witherspoon                1:19-cv-04093

      Michelle and Keith Sears          1:19-cv-04617

      David McNew                       1:19-cv-04965

      Vivian Brown                      1:20-cv-00107

      Luz A. Gomez                      1:20-cv-00502

      Estate of William Tkachyk         1:20-cv-00534

      Shawn Allen                       1:20-cv-01002

      Nikia Whiteside                   1:20-cv-02554

      Steve Jenkins                     1:20-cv-02558

      Jessica Davis                     1:20-cv-02897

      Margaret and William Barr         1:20-cv-02898

      Bruce Dale Betz                   1:20-cv-03090

                                           2
Case 1:14-ml-02570-RLY-TAB Document 22394 Filed 07/20/22 Page 3 of 4 PageID #:
                                 132500



      Laray Hargrove                1:20-cv-06123

      Franklin Shank                1:21-cv-00029

      Estate of Lynne Bergeron      1:21-cv-00041

      Steve Balistreri              1:21-cv-00197

      Paul Augsburger               1:21-cv-00343

      Sharon Larner                 1:21-cv-00460

      Pennie Adkins                 1:21-cv-00500

      Shirley Smith                 1:21-cv-00705

      Billy Mincy                   1:21-cv-00895

      Kristy Sims                   1:21-cv-01443

      Gary Lee Roberson             1:21-cv-01481

      Deborah Letteau               1:21-cv-01764

      Leslie Matejek                1:21-cv-01933

      James Mitchell                1:21-cv-02337

      Stephanie Carlson             1:21-cv-02348

      Benson Howard                 1:21-cv-06564

It is DENIED with respect to:

      Roberta Simmons               1:19-cv-01409

      Paulette Parks                1:19-cv-01413

      Irish Daniels                 1:19-cv-01416

It is DENIED AS MOOT with respect to:

      Eleanor Carter Bawner         1:20-cv-03279

                                        3
Case 1:14-ml-02570-RLY-TAB Document 22394 Filed 07/20/22 Page 4 of 4 PageID #:
                                 132501



      Arthur Cornell Aguilar            1:21-cv-00040

      Victor Bevis                      1:21-cv-00466

      Dina Daniels                      1:21-cv-01344

      Veronica Dixon                    1:21-cv-01352

      Kimberly Dill                     1:21-cv-01619

      Christine and Kevin Curti         1:21-cv-01620

      Carrie Jean Drakeford             1:21-cv-01685



SO ORDERED this 20th day of July 2022.




                                        s/RLY




Distributed Electronically to Registered Counsel of Record




                                           4
